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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------- X    CASE MANAGEMENT PLAN
 Government Employees Insurance Co. et al,

                                    Plaintiffs.                   1:22-cv-02160 (BMC)

         -against-

 Boulevard 9229 LLC et al,

                                    Defendants.

 ------------------------------------------------------------ X

 COGAN, District Judge

         After consultation with counsel for the parties, the following Case Management Plan
 is adopted. This plan is also a scheduling order pursuant to Federal Rules of Civil Procedure
 16 and 26(f).

 A.      The case (is)       (is not) to be tried to a jury. [Circle as appropriate].

 B.      Non-Expert Discovery:

         1.       The parties are to conduct discovery in accordance with the Federal Rules of
                  Civil Procedure and the Local Rules of the Eastern District of New York. All
                  non-expert discovery is to be completed by December 21, 2022, which date
                  shall not be adjourned except upon a showing of good cause and further order
                  of the Court.       Interim deadlines for specific discovery activities may be
                  extended by the parties on consent without application to the Court, provided
                  the parties are certain that they can meet the discovery completion date.



                  The parties shall list the contemplated discovery activities and anticipated
                  completion dates in Attachment A, annexed hereto.




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       2.     Joinder of additional parties must be accomplished by August 16, 2022.

       3.     Amended pleadings may be filed without leave of the Court until
              August 16, 2022.

 C.    For all causes of action seeking monetary damages, each party shall identify and
       quantify in Attachment B, annexed hereto, each component of damages alleged; or, if
       not known, specify and indicate by what date Attachment B shall be filed providing
       such information.

 D.    Motions:

       1.     Upon the conclusion of non-expert discovery, and no later than the date
              provided below, the parties may file dispositive motions. The parties shall
              agree to a schedule and promptly submit same for the Court’s approval,
              providing for no more than three rounds of serving and filing papers:
              supporting affidavits and briefs, opposing affidavits and briefs, and reply
              affidavits and briefs.

       2.     The last day for filing a letter, pursuant to Rule III.A.2 of the Court’s
              Individual Practices, requesting a premotion conference in order to file
              dispositive motions shall be February 21, 2023. (Counsel shall insert a date
              one week after the completion date for non-expert discovery.)

              a.      There shall be no cross-motions. Any motions not made by the agreed
                      date shall, unless the Court orders otherwise, not be considered until
                      after the timely-filed motion is determined.

              b.      Papers served and filed by the parties shall conform to the requirements
                      set out in the Court’s Individual Practices.

 E.    Any request for relief from a date provided in this Case Management Plan shall
       conform to the Court’s Individual Practices and include an order, showing consents
       and disagreements of all counsel, setting out all dates that are likely to be affected by
       the granting of the relief requested, and proposed modified dates. Unless and until the
       Court approves the proposed order, the dates provided in this Plan shall be binding.

 F.    Pre-Trial Motions:


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        Applications for adjournments and for discovery or procedural rulings will reflect or
        contain the positions of all parties, as provided by the Court’s Individual Rules, and
        are not to modify or delay the conduct of discovery or the schedules provided in this
        Case Management Plan except upon leave of the Court.


 SO ORDERED.



 Dated: Brooklyn, New York                                        U.S.D.J.
        _____ __, 20__




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                                           ATTACHMENT A

 The Parties are to list the discovery activities (i.e., production of documents, number of
 depositions, requests to admit, interrogatories) and anticipated completion dates:

           DISCOVERY ACTIVITIES                                COMPLETION DATE
 1.
        Rule 26 Disclosures to be served by:      6/2/2022



 2.     Interrogatories and First Requests for    6/23/2022
        Documents to be served by:

 3.     Depositions to be completed by (approx.
        30 depositions in total including party and 11/21/2022
        non-party depositions):

 4.
      Expert reports to be completed by:          1/23/2023


 5.
       Rebuttal expert reports to be completed by: 2/17/2023


 6.
       Expert discovery to be completed by:       3/17/2023


 7.



 8.



 9.



 10.




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                                         ATTACHMENT B

     For all causes of action seeking monetary damages, each party shall identify and
     quantify each component of damages alleged:

     1.    PLAINTIFF’S CLAIMS:


Cause of               Amount Sought                                Basis for Amount
Action


2           $552,200.00 in compensatory damages     GEICO TIN run of voluntary payments made to
            pursuant to Common Law Fraud with       Boulevard 9229 LLC, Albertson Pharmacy Inc.,
            respect to all Defendants               Sterling Drugstore Inc., Sterling Meds RX Inc. d/b/a
                                                    Sterling Drugstore, and Streamline RX LLC


3           $552,200.00 in compensatory damages     GEICO TIN run of voluntary payments made to
            pursuant to Unjust Enrichment with      Boulevard 9229 LLC, Albertson Pharmacy Inc.,
            respect to all Defendants               Sterling Drugstore Inc., Sterling Meds RX Inc. d/b/a
                                                    Sterling Drugstore, and Streamline RX LLC


4           $552,200.00 in damages plus treble      GEICO TIN run of voluntary payments made to
            damages pursuant to 18 U.S.C. § 1962    Boulevard 9229 LLC, Albertson Pharmacy Inc.,
            (c) with respect to Defendants Ishbay   Sterling Drugstore Inc., Sterling Meds RX Inc. d/b/a
            Shukurov, Arkadiy Abramov,              Sterling Drugstore, and Streamline RX LLC
            Vyacheslav Mushyakov, and Dauriya
            Derevyanko

     2.    COUNTERCLAIMS AND CROSS-CLAIMS: N/A

     3.    THIRD-PARTY CLAIMS:N/A
